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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          NEWNAN DIVISION


    MUN KYOO KIM, SEONG IL
    CHO, and CHOON SEONG
    HYEON,
                                             CIVIL ACTION FILE
          Plaintiffs,
                                             NO. 3:15-cv-141-TCB
    V.

    SOON JOSEPH CHOI, CHOON
    SIK LEE, and JIREH AMERICA,
    LLC,

          Defendants.


                                    ORDER

         This case comes before the Court on Plaintiffs Seong Il Cho and

    Choon Seong Hyeon's motion [92] for attorney's fees .

         On February 15, the Court granted [90] Cho and Hyeon's motion

    for summary judgment on their FLSA claim for overtime wages. On

    February 28, they filed their motion for attorney's fees. On March 30,

    their attorney Brian Kim filed his declaration [93] in support of the
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motion. Defendants have not contested the motion. Cho and Hyeon seek

$43,500 in attorney's fees and $3,121.50 in expenses.

     Having reviewed the declaration and exhibits related to Cho and

Hyeon's motion and pursuant to Federal Rule of Civil Procedure 54(d)

and Local Rule 54.2(A), the motion [92] for fees is granted. The Court

awards Cho and Hyeon $43,500.00 in attorneys' fees and a total of

$3,121.50 in costs.

     IT IS SO ORDERED this      1f~ day of April, 2019.
                                         IH   ~e6~-
                                   Timothy C. Batten, Sr.
                                   United States District Judge




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